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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,

                     Plaintiff,                   Civil Action No. 1:19-cv-02263-RGA

      v.

PARAMOUNT PICTURES                                TRIAL BY JURY DEMANDED
CORPORATION,

                     Defendant.

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Now comes Plaintiff, Symbology Innovations LLC, by and through the undersigned

counsel, and hereby voluntarily dismisses all of the claims asserted against Defendant Paramount

Pictures Corporation in the within action with prejudice. This notice of dismissal pursuant to

Civ. R. 41(a)(1) is proper inasmuch as the Defendant has neither answered nor moved for

summary judgement.

Dated: December 27, 2019                     STAMOULIS & WEINBLATT LLC

                                             /s/Stamatios Stamoulis
                                             Stamatios Stamoulis
                                             800 N. West Street, Third Floor
                                             Wilmington, DE 19801
                                             Telephone: (302) 999-1540
                                             Facsimile: (302) 762-1688
                                             stamoulis@swdelaw.com




SO ORDERED this _________ day of December, 2019

                                                   _________________________________
                                                   United States District Court Judge
